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                                      ------- LAW OFFICES -------




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NEW JERSEY                                                               JUSTIN D. SANTAGATA, ESQ.
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                                    March 8, 2022

VIA ECF
Hon. Eric N. Vitaliano, U.S.D.J.
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

         Re: Burton, et al. v. Intercontinental Capital Group Inc., 2:22-cv-00691

Dear Judge Vitaliano:

       We represent Plaintiffs in the above case. Per Your Honor’s individual rules,
please accept this letter request to file a motion to amend or, in the alternative, for
leave to amend.

       Plaintiffs’ complaint generally alleges that Defendant was engaged in
widespread overtime violations and that mass layoffs occurred in late 2021-early 2022
that violated the Federal Worker Adjustment and Retraining Notification Act (among
other claims). (ECF6.) The purpose of the motion to amend is to add several plaintiffs
and additional relevant allegations in advance of Defendant’s answer or other
response to Plaintiffs’ complaint. Plaintiffs’ complaint has already been amended once
as of right under Fed.R.Civ.P. 15(a) and so we need Defendant’s “written consent” or
“leave” of the Court to amend again.

         Per section III(B) of Your Honor’s rules, we emailed Defendant’s counsel with a
proposed briefing schedule on March 1, 2022 with this schedule: March 15, 2022 to
file 1 the motion; April 1, 2022 to oppose; April 8, 22 for any reply. Defendant’s counsel
seemingly agreed to a consent order instead; we submitted a draft to Defendant’s
counsel; but none has been executed as yet. We separately agreed to an April 14, 2022
date for Defendant to respond to Plaintiffs’ complaint.

       We would obviously prefer to file the amendment via consent order, given the
very early stage of this litigation, but we have an obligation to add the several
plaintiffs in a reasonable timeframe, so out of caution we are requesting a briefing
schedule.

1   “File” in this context means compliance with the Court’s “Bundling Rule.”
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      In alternative, if the Court is inclined to grant “leave” under Fed.R.Civv.P. 15(a)
without a motion, that would likely be more efficient, but we did not want to presume
the Court would grant “leave” without a motion.

      In sum, we are requesting either the proposed briefing schedule on the motion
to amend or “leave” to amend by March 15, 2022.

      Thank you for your courtesies and consideration. There is a “so ordered” line
below if applicable.

                                 Respectfully submitted,


                                 JUSTIN D. SANTAGATA

JDS
cc:   Katherine Thomas Batista, Esq. (via ECF).


                                                                        SO ORDERED:


                                              ______________________________________
                                                 HON. ERIC N. VITALIANO, U.S.D.J.
                                                           DATED: MARCH ___, 2022
